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Via ECF                                                          November 3, 2022

The Honorable Dan Aaron Polster
Carl B. Stokes United States Court House
801 West Superior Avenue, Courtroom 18B
Cleveland, Ohio 44113-1837


       Re: In re: National Prescription Opiate Litigation, Case No.
             1:17-MD-2804

Dear Judge Polster:

       We are counsel for McKesson Corporation. We write in response to the Court’s October
7 Order Regarding Non-Litigating Defendants (Doc. No. 4670) and the Status Report filed by
Masters Pharmaceutical, LLC on November 1, 2002 (Doc. No. 4712), insofar as they concern
“River City Pharma.”

       In 2018, McKesson purchased the assets (but not the liabilities) of Masters
Pharmaceutical, LLC. The McKesson subsidiary that holds those assets—Masters Drug
Company, Inc.—is a released entity under the Distributor Settlement.1 River City Pharma is a
trade name (or d/b/a) for Masters Drug Company, Inc.2 Masters Drug Company, Inc. d/b/a
River City Pharma has not distributed controlled substances at any time since the 2018 asset
purchase.

        Pursuant to the terms of the Distributor Settlement releasing Masters Drug Company,
Inc., River City Pharma has been dismissed by this Court from five cases brought by subdivision
plaintiffs. See Dkt. Nos. 4307, 4307-1.3 Additional cases naming “River City Pharma” have been
dismissed by the Utah courts pursuant to the Distributor Settlement.

      To the best of the undersigned counsel’s knowledge, (1) there are three cases brought by
non-governmental plaintiffs pending in this MDL that name River City Pharma as a defendant,4


1 See Section I.HHH and Exhibit J of the Distributor Settlement Agreement, Dkt. No. 4304-2.

2 For the avoidance of doubt, no McKesson entity is an affiliate of Masters Pharmaceutical, LLC

or River City Pharma, LLC.
3 The dismissed cases are: 1:19-op-45050-DAP, 1:19-op-45462-DAP, 1:19-op-45925-DAP, 1:19-

op-45993-DAP, and 1:20-op-45016-DAP.
4 See 1:18-op-45390-DAP, 1:18-op-45493-DAP, and 1:18-op-45819-DAP.
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(2) Masters Drug Company, Inc. has not been served in any of those cases, and (3) there are no
cases naming River City Pharma or Masters Drug Company, Inc. pending in state court.

                                                   Sincerely,



                                                   /s/ Geoffrey Hobart
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